        Case 1:25-cv-00617-ALC           Document 1       Filed 01/21/25      Page 1 of 8




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 PHI AVIATION, LLC                                   §    CIVIL ACTION NO. 24-CV-______
                                                     §
        PLAINTIFF                                    §
                                                     §
 VS.                                                 §    JUDGE _______________________
                                                     §
 NEW YORK HELICOPTER CHARTER INC.                    §
                                                     §
        DEFENDANT                                    §    MAG. JUDGE _________________


                                          COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes plaintiff, PHI AVIATION,

LLC, who files this Complaint against defendant, NEW YORK HELICOPTER CHARTER INC.,

and respectfully avers as follows:

                                            PARTIES

                                                1.

       PHI AVIATION, LLC (“PHI” and/or “LESSOR”), is a Louisiana limited liability

company, with its principal place of business in Lafayette, Louisiana. The sole member of PHI is

PHI Group, Inc., which is a Delaware corporation, with its principal place of business in Lafayette,

Louisiana.

                                                2.

       NEW YORK HELICOPTER CHARTER INC. (“NY HELICOPTER” and/or “LESSEE”),

is a New York corporation, with its principal place of business in New York, New York.
         Case 1:25-cv-00617-ALC             Document 1         Filed 01/21/25        Page 2 of 8




                                   JURISDICTION AND VENUE

                                                    3.

        Jurisdiction is proper before this Court pursuant to 28 U.S.C. §1332(c) because: (a) PHI

and NY HELICOPTER are citizens of different states; and (b) there is more than $75,000 in

controversy between the parties.

                                                    4.

        Venue is proper in the Southern District of New York (sitting in the Borough of Manhattan)

pursuant to 28 U.S.C. §§1391(b)(1) and (2) pursuant to agreement between PHI and NY

HELICOPTER. Section 17.12(a) of the Helicopter Lease Agreement1 between PHI and NY

Helicopter provides:

        Each party hereby irrevocably consents to the exclusive jurisdiction and venue over
        any and all disputes between the parties arising under this Lease in, and for such
        purpose each party hereby submits to the jurisdiction of, the United States District
        Court for the Southern District of New York sitting in The Borough of Manhattan
        and any New York state court sitting in the County of New York, New York, and
        all related appellate courts.

                                     FACTUAL ALLEGATIONS

                                                    5.

        Based in Lafayette, Louisiana, PHI is one of the world’s leading helicopter services

companies. Though PHI regularly provides helicopter transportation services directly to its

customers, PHI also leases helicopters to other companies that use them for their own transport

services.




1
  A copy of the Helicopter Lease Agreement between PHI Aviation, LLC and New York Helicopter Charter, Inc. is
attached hereto as Exhibit A.


                                                     2
         Case 1:25-cv-00617-ALC              Document 1         Filed 01/21/25        Page 3 of 8




                                                     6.

        On April 17, 2024, PHI and NY Helicopter executed and entered the Helicopter Lease

Agreement (“Helicopter Lease”) pursuant to which NY Helicopter agreed to lease from PHI, for

stipulated charges and fees through a term specified in the Helicopter Lease, “[o]ne (1) Bell 407

helicopter with manufacturer’s serial number 53114 and US registration mark N407MR . . . All

parts, components, furnishings, equipment, and accessories belonging to, installed in or

appurtenant to such helicopter or engine, including but not limited to, air conditioning units and

float systems” (the “Helicopter”).2

                                                     7.

        The Helicopter Lease obligates NY Helicopter to make a monthly “Flight Hour Rate

Payment” (which is calculated as “the Flight Hours3 accrued on the Helicopter each calendar

month multiplied by the Flight Hour Rate4”).

                                                     8.

        On November 20, 2024, PHI notified NY Helicopter it was in default of the Helicopter

Lease for failure for three months to make “Flight Hour Rate Payment[s]”5 and demanded payment

of the then total outstanding amount owing under the Helicopter Lease “no later than November

29.”6




2
  Helicopter Lease, Appendix 1 – Form Acceptance Certificate
3
  Helicopter Lease §§1.1 and 6.2(a)
4
  Helicopter Lease §1.1
5
  Helicopter Lease §§ 1.1 and 6.2(a).
6
  A copy of the November 20, 2024 letter from PHI to Mike Roth, New York Helicopter Charter, Inc., is attached
hereto as Exhibit B.


                                                      3
         Case 1:25-cv-00617-ALC              Document 1         Filed 01/21/25        Page 4 of 8




                                                     9.

        NY Helicopter, the same day, disputed PHI’s calculation of the total amount of “Flight

Hout Payment[s]” owing under the Helicopter Lease and promised to pay the amount it considered

due “with in [sic] the next 6 weeks”.7

                                                    10.

        PHI received an overdue “Flight Hour Payment” on November 20, but unequivocally

rejected NY Helicopter’s attempt to unilaterally extend the cure period.

                                                    11.

        In response, NY Helicopter replied: “PLEASE ADVICE [sic] WHERE YOU WOULD

LIKE US TO DROP OFF HELICOPTER ASAP AS WE WILL BE REMOVING IT FROM OUR

INSURANCE AND HANGER IF WE DONT HER [sic] FROM YOU WE WILL FLY IT BACK

TO PHI LAFAYETTE.”8

                                                    12.

        On December 4, 2024, in addition to renewing its demand for payment in full of the

outstanding “Flight Hour Payment[s]”, PHI demanded NY Helicopter return the Helicopter at NY

Helicopter’s cost and expense to PHI’s facility in Lafayette, Louisiana.9

                                                    13.

        NY Helicopter failed to pay outstanding amounts owed under the Helicopter Lease and/or

return the Helicopter to PHI’s facilities in Lafayette, Louisiana despite amicable demand.




7
  See November 20, 21, and 26 emails between PHI and NY Helicopters attached collectively hereto as Exhibit C.
8
  Exhibit C.
9
  A copy of the December 4, 2024 letter from Robert Van de Vuurst, counsel for PHI, to Mike Roth, New York
Helicopter Charter, Inc., is attached hereto as Exhibit D.


                                                      4
         Case 1:25-cv-00617-ALC            Document 1         Filed 01/21/25       Page 5 of 8




                                                  14.

        On December 13, 2024, PHI, in accordance with the Helicopter Lease, peaceably and

without objection repossessed the Helicopter due to NY Helicopter’s failure to honor either of

PHI’s demands for payment of the outstanding amount owing under the Helicopter Lease and/or

return of the Helicopter to PHI’s facilities in Lafayette, Louisiana at NY Helicopter’s cost and

expense.

                                                  15.

        On January 14, 2025, PHI terminated the Helicopter Lease, pursuant to the terms thereof,

based on NY Helicopter’s failure to pay “Flight Hour Rate Payment[s]” by written notice to NY

Helicopter sent to 165 Western Rd, Kearney, NJ in accordance with the Helicopter Lease notice

requirements.10

                                                  16.

        PHI, via its January 14, 2025 correspondence, also demanded payment of outstanding

amounts due under the Helicopter Lease, including past-due and accelerated future “Flight Hour

Rate Payment[s]”.

                          CAUSE OF ACTION/RELIEF REQUESTED

                       COUNT I: Breach of Contract (Helicopter Lease)

                                                  17.

        PHI adopts, realleges, and incorporates the factual allegations set forth in Paragraphs 1

through 16 of this Complaint as if fully set forth herein.




10
  A copy of the January 14, 2025 letter from Trey Range, counsel for PHI, to Mike Roth, New York Helicopter
Charter, Inc., is attached hereto as Exhibit E.


                                                    5
        Case 1:25-cv-00617-ALC         Document 1          Filed 01/21/25   Page 6 of 8




                                             18.

       Section 13.1 of the Helicopter Lease entitled “Classes of Events”, in pertinent part,

provides:

       Lessor may declare Lessee in default, and may, in its sole discretion, retake
       possession of the Helicopter or exercise or recover any and all other rights and
       remedies, upon the occurrence of any of the following, each of which shall
       constitute an Event of Default:

       (a)    a failure of Lessee to pay any Rent, Supplemental Rent, Security Deposit,
              Agreed Value or any other amount due under any of [the [Helicopter] Lease,
              any permitted Sublease, any Guaranty Lease, and all notices, consents,
              certificates, confirmations, agreements, security filings and other
              documents from time to time issued or entered into by Lessee pursuant to
              or in connection with any documents referred to above [in the Helicopter
              Lease] . . .] in full as and when due or, in the case of amounts payable on
              demand, which failure continues for ten (10) days after written notice from
              Lessor or a Finance Party;

       (b)    Lessee’s failure to perform or breach of any material provision of this
              [Helicopter] Lease or any of the Transaction Documents and failure to cure
              the breach within fifteen (15) days after written notice from Lessor or a
              Finance Party;
                                              19.

       Section 13.2(a) of the Helicopter Lease provides:

       (a)    Remedies. Upon occurrence of any Event of Default, and in addition to
              any other rights and remedies which Lessor may have a Law or in equity or
              under this [Helicopter] Lease, Lessor may collect from Lessee, and Lessee
              shall pay on demand to Lessor, all costs (including attorney’s fees)
              necessary for repossession of the Helicopter, and an amount equal to all
              remaining lease payments and other amounts Lessee is liable for hereunder
              at any time, as liquidated damages for loss of bargain and not as a penalty.

                                             20.

       PHI has performed all its obligations under the Helicopter Lease.




                                               6
            Case 1:25-cv-00617-ALC                 Document 1   Filed 01/21/25   Page 7 of 8




                                                       21.

           PHI has and continues to submit timely invoices for “Flight Hour Payment[s]” to NY

Helicopter for “Flight Hours” calculated in accordance with the applicable Helicopter Lease

terms.11

                                                       22.

           Pursuant to the terms of the Helicopter Lease, NY Helicopter is unconditionally obligated

to pay PHI for “Flight Hour Payment[s]”.

                                                       23.

           NY Helicopter, by its failure to pay outstanding amounts owing to PHI under the Helicopter

Lease, breached the Helicopter Lease.

                                                       24.

           NY Helicopter, by its failure to deliver the Helicopter to PHI at its facility in Lafayette,

Louisiana at NY Helicopter’s cost and expense, breached the Helicopter Lease.

                                                       25.

           NY Helicopter terminated and repudiated the Helicopter Lease by virtue of its material

breaches of the Helicopter Lease.

                                                       26.

           As a result of NY Helicopter’s material breaches, termination and repudiation of the

Helicopter Lease, PHI has been damaged at least in the principal amount of ONE MILLION FOUR

HUNDRED SEVENTY-TWO THOUSAND FOUR HUNDRED SIXTY-EIGHT AND 88/100

DOLLARS ($1,472,468.88) plus interest, attorney’s fees, costs, expenses, as well as other

consequential damages in an amount to be proven at trial.



11
     See Helicopter Lease §§1.1, 6.2(a) and 6.3.


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        Case 1:25-cv-00617-ALC           Document 1        Filed 01/21/25       Page 8 of 8




       WHEREFORE, PREMISES CONSIDERED, plaintiff, PHI Aviation, LLC, prays that

its Complaint against defendant, New York Helicopter Charter Inc., be deemed sufficient and that

after due proceedings had, this Court grant the following relief:

       A.      Judgment in favor of Plaintiff and against Defendant for the full amount of

Plaintiff’s damages for breach of the April 17, 2024 the Helicopter Lease Agreement, together

with judicial interest on such damages until paid.

       B.      An award to Plaintiff of its costs in this action, including reasonable attorney’s fees;

and

       C.      All other such relief as this Court may deem just and equitable.

                                              Respectfully submitted,

                                              BAKER DONELSON BEARMAN
                                              CALDWELL & BERKOWITZ, PC


                                              /s/ Leopoldo J. Yanez_____________________
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                                              ATTORNEYS FOR PHI AVIATION, LLC




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